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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      11/6/2020

 C.A., et al.,

                        Plaintiffs,
                                                                                  20-cv-6526 (AJN)
                 –v–
                                                                                       ORDER
 New York City Department of Education,

                        Defendant.



ALISON J. NATHAN, District Judge:

        In light of the COVID-19 public health crisis, the Court will not hold the upcoming initial
pretrial conference in this case in person. Counsel should submit their proposed case
management plan and joint letter seven days prior to the scheduled conference, as directed in the
Court’s Notice of Initial Pretrial Conference. In their joint letter, the parties should also indicate
whether they can do without a conference altogether. If so, the Court may enter a case
management plan and scheduling order and the parties need not appear. If not, the Court will
hold the initial pretrial conference by telephone, albeit perhaps at a different time than the
currently scheduled time. To that end, counsel should indicate in their joint letter all times on the
date of the scheduled conference that they would be available for a telephone conference. In
either case, counsel should review and comply with the Court’s Emergency Individual Rules and
Practices in Light of COVID-19, available at https://www.nysd.uscourts.gov/hon-alison-j-nathan.

        SO ORDERED.


Dated: November 6, 2020                             __________________________________
       New York, New York                                    ALISON J. NATHAN
                                                           United States District Judge
